        Case 1:24-cv-01003-DFB Document 14 Filed 09/09/24 Page 1 of 5




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED SOVEREIGN              :
AMERICANS, INC., BERNARD      :
SELKER, DIANE HOUSER, RUTH    :
MOTON and DEAN DREIBELBIS,    :
                     Plaintiffs
                              :
                              :                   No. 1:24-CV-01003
             v.               :
                              :                   Magistrate Judge Bloom
AL SCHMIDT, MICHELLE          :
HENRY, and MERRICK            :                   Electronically Filed Document
GARLAND,                      :
                              :                   Complaint Filed 06/18/24
                   Defendants :



            ATTORNEY GENERAL HENRY’S MOTION TO DISMISS
                PLAINTIFFS’ AMENDED COMPLAINT

      AND NOW comes Defendant, Attorney General Michelle Henry, by and

through undersigned counsel, and files this Motion pursuant to Fed. R. Civ. P.

12(b)(6) to dismiss the Plaintiffs’ allegations against her with prejudice. A brief in

support of this motion will be filed within the period provided for under Local

Rule 7.5.

      WHEREFORE, for the reasons further detailed in Defendant’s forthcoming

Brief in Support, her Motion should be granted. Defendant has contacted Plaintiffs’

Counsel, who does not concur in this Motion.
       Case 1:24-cv-01003-DFB Document 14 Filed 09/09/24 Page 2 of 5




                                          Respectfully submitted,

                                          MICHELLE A. HENRY
                                          Attorney General


                                  By:     s/ ERICH T. GREINER
                                         ERICH T. GREINER
Office of Attorney General               Deputy Attorney General
15th Floor, Strawberry Square            Attorney ID PA #331601
Harrisburg, PA 17120
Phone: (717) 783-6301                    NICOLE R. DITOMO
                                         Chief Deputy Attorney General
egreiner@attorneygeneral.gov             Civil Litigation Section

Date: September 9, 2024                  Counsel for Attorney General Michelle
                                         Henry




                                     2
        Case 1:24-cv-01003-DFB Document 14 Filed 09/09/24 Page 3 of 5




                    CERTIFICATE OF CONCURRENCE
      I, Erich T. Greiner, Deputy Attorney General, hereby certify that I have

sought concurrence from Plaintiffs’ counsel, and he does not concur in this

Motion. I further certify that I have sought the concurrence of counsel for

Defendant, Secretary Al Schmidt, who does not oppose the filing of this Motion.


                                             s/ ERICH T. GREINER
                                            ERICH T. GREINER
                                            Deputy Attorney General
        Case 1:24-cv-01003-DFB Document 14 Filed 09/09/24 Page 4 of 5




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED SOVEREIGN              :
AMERICANS, INC., BERNARD      :
SELKER, DIANE HOUSER, RUTH    :
MOTON and DEAN DREIBELBIS,    :
                     Plaintiffs
                              :
                              :                No. 1:24-CV-01003
             v.               :
                              :                Magistrate Judge Bloom
AL SCHMIDT, MICHELLE          :
HENRY, and MERRICK            :                Electronically Filed Document
GARLAND,                      :
                              :                Complaint Filed 06/18/24
                   Defendants :


                         CERTIFICATE OF SERVICE
      I, Erich T. Greiner, Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General hereby certify that on September 9,

2024, I caused to be served a true and correct copy of the foregoing document

titled Attorney General Henry’s Motion to Dismiss Plaintiffs’ Complaint to the

following:




VIA ELECTRONIC FILING

Bruce L. Castor, Jr., Esquire
Michael T. van der Veen, Esquire
van der Veen O’Neill Hartshorn and Levin
1219 Spruce Street
Philadelphia, PA 19107
bcastor@mtvlaw.com
         Case 1:24-cv-01003-DFB Document 14 Filed 09/09/24 Page 5 of 5




mtv@mtvlaw.com
Counsel for Plaintiffs

Stephen R. Kovatis
Office of General Counsel
333 Market St., 17th Floor
Harrisburg, PA 17101
Counsel for Defendants Pennsylvania Bureau
of Election Security and Technology,
Pennsylvania Bureau of Elections,
Pennsylvania Department of State, and Al
Schmidt




                                          s/ ERICH T. GREINER
                                         ERICH T. GREINER
                                         Deputy Attorney General
